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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.             CR 14-00512 SJO-3

 Defendant     WIJEGOONARATNA, Sri J.                                       Social Security No. 5          7   3    8
       Wijegunaratne , Sri J.; Wijegoonaratna , Sri
                                                                            (Last 4 digits)
 akas: Jayantha; Dr. J

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH      DAY     YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.      July         7,     2017

  COUNSEL                                                           Reuven L. Cohen (Retained)
                    (Name of Counsel)

     PLEA              GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO           x      NOT
                                                                                                               CONTENDERE              GUILTY
   FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                    18 U.S.C. § 1347: Health Care Fraud; Aiding and Abetting as charged in Counts 1, 2, 3, 4, 7, 8, and 9 of the Indictment
                    .
 JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
 AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
   COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
   ORDER            custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $700, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility
Program.

Defendant shall pay restitution in the total amount of $3,384,202.28 pursuant to 18 U.S.C. § 3663A,
to victims as set forth in a separate victim list prepared by the probation office which this Court adopts
and which reflects the Court's determination of the amount of restitution due to each victim. The
victim list, which shall be forwarded to the fiscal section of the clerk's office, shall remain confidential
to protect the privacy interests of the victims.

Restitution shall be paid in full immediately.

If the defendant makes a partial payment, each payee shall receive approximately proportional
payment unless another priority order or percentage payment is specified in the judgment.

The defendant shall be held jointly and severally liable with the defendants in the related cases
("co-schemers") for the restitution amount to Medicare as ordered in this judgment.

Defendant's liability for restitution ceases if and when defendant pays the total amount of restitution
imposed as to the defendant as ordered in this judgment or when adding together the payments of all

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the below-listed co-schemers, the largest restitution obligation of any of these co-schemers is satisfied.

No restitution payment made by any of the other co-schemers in this case or any defendant in any of
the related cases shall be credited to the defendant unless and until when adding together the payments
of all the below-listed co-schemers, the largest restitution obligation of any of these defendants is
satisfied.

1.                   United States v. Ramon Parayno, CR 15-548-SJO
2.                   United States v. Kristen Castaneda, CR 15-14-SJO
3.                   United States v. Janel Licayan, CR 15-04-SJO
4.                   United States v. Priscilla Villabroza, CR 14-512-SJO
5.                   United States v. Mubina Siddiqui, CR 15-719-SJO
6.                   United States v. Erwin Castillo, CR 15-18-SJO
7.                   United States v. Sharon Patrow, CR 14-512-SJO
8.                   United States v. Nancy Briones, CR 14-512-SJO
9.                   United States v. Sri Wijegoonaratna, CR 14-512-SJO
10.                  United States v. Boyao Huang, CR 14-512-SJO

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
defendant does not have the ability to pay interest. Payments may be subject to penalties for default
and delinquency pursuant to 18 U.S.C. § 3612(g).

The Court does not order a fine in light of the restitution order made by the Court. The Court would
find that defendant would not have the ability to pay an additional fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Sri
J. Wijegoonaratna, is hereby committed on Counts 1, 2, 3, 4, 7, 8, and 9 of the Indictment to the
custody of the Bureau of Prisons for a term of 108 months. This term consists of 78 months on the
offenses set forth in Counts 1, 2, 3, 4, 7, and 8 of the Indictment, 30 months on the offense set forth in
Count 9 of the Indictment, and 30 additional months, based on the statutory sentencing enhancement
under 18 U.S.C. § 3147, to be served consecutively to the term imposed on Counts 1, 2, 3, 4, 7, 8 and
9. Further, the terms imposed as to Counts 1, 2, 3, 4, 7, 8, and 9 shall run concurrently to each other.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
three years. This term consists of three years on each of Counts 1, 2, 3, 4, 7, 8, and 9, all such terms to
run concurrently under the following terms and conditions:

1.    The defendant shall comply with the rules and regulations of the United States Probation
Office, General Order 05-02, and General Order 01-05, including the three special conditions
delineated in General Order 01-05.

2.        The defendant shall not commit any violation of local, state, or Federal law or ordinance.
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3.     During the period of community supervision, the defendant shall pay the special assessment,
fine, and restitution in accordance with this judgment's orders pertaining to such payment.

4.    The defendant shall not be employed in any position that requires licensing and/or certification
by any local, state, or federal agency without the prior written approval of the Probation Officer.

5.    The defendant shall not engage, as whole or partial owner, employee or otherwise, in any
business or profession that bills Medicare or Medi-Cal or any other publicly funded health care benefit
program without the express written approval of the Probation Officer prior to engaging in such
employment, business, or profession. Further, the defendant shall provide the Probation Officer with
access to any and all business records, client lists, and other records pertaining to the operation of any
business owned, in whole or in part, by the defendant, as directed by the Probation Officer.

6.     The defendant shall apply all monies received from income tax refunds to the outstanding
court-ordered financial obligation. In addition, the defendant shall apply all monies received from
lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains to the
outstanding court-ordered financial obligation.

7.        The defendant shall cooperate in the collection of a DNA sample from the defendant.

The drug testing condition mandated by statute is suspended based on the Court's determination that
the defendant poses a low risk of future substance abuse.

The Court advises the Defendant of his right to appeal.

The Court recommends that the defendant shall be designated in Southern.




  In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
  Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
  supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
  supervision for a violation occurring during the supervision period.




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             July 7, 2017                                                   S. James Otero
             Date                                                           U. S. District Judge/Magistrate Judge

  It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                            Clerk, U.S. District Court



             July 7, 2017                                            By     Victor Paul Cruz
             Filed Date                                                     Deputy Clerk



  The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
  1.   The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
  2.   the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
  3.   the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete                 any time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
  4.   the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
  5.   the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the
  6.   the defendant shall work regularly at a lawful occupation unless                    permission of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
  7.   the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
  8.   the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
  9.   the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


  x     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
  restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
  to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
  applicable for offenses completed prior to April 24, 1996.

           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
  balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

           The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
  residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
  defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
  Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
  the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
  §3563(a)(7).

            Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.




                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

           As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
  inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
  supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
  any line of credit without prior approval of the Probation Officer.

            The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
  shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including
  any business accounts, shall be disclosed to the Probation Officer upon request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
  approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                      RETURN

  I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                      to
  Defendant noted on appeal on
  Defendant released on
  Mandate issued on
  Defendant’s appeal determined on
  Defendant delivered on                                                                    to
      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                               By
             Date                                                     Deputy Marshal




                                                                  CERTIFICATE

  I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
  legal custody.

                                                                      Clerk, U.S. District Court


                                                               By
             Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          (Signed)
                     Defendant                                                       Date




                     U. S. Probation Officer/Designated Witness                      Date




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